Case 2:O4-cr-20l40-.]PI\/| Document 209 Filed 07/25/05 Page 1 of 2 Page|D 282

 

 

 
 

 
 

UNITED STATES DISTRICT COURT F~iL_ED E:-' _m_'_w_" D_c,
WESTERN DISTRICT OF TENNESSEE
Western Division 05 JU[_ 25 PH 51 {[*
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UNITED sTATEs oF AMERICA CfE»“i;i ‘~;; `-_'-')llilCT COURT
W,'i) tr ".iEMPHIS
-vs- Case No. 2:04cr20140-04Ml

KENNETH KENARD BROWN

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
THURSDAY, JULY 28, 2005 at 2:30 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom M-3, Ninth Floor, United States Courthouse and F ederal Building, 167
North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing.

Dare: Julyzs, 2005 F<QV{ % 12 ?/W/,

DlANE K. VESCOVO
UNITED STATES MAGISTRATE IUDGE

 

 

'If not held immedi ater upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(i) are present. Subsection ( l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial ocher's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or j uror.

AO 4'€0 (8185} Order of Terrporary Dsiention

Th!s document entered on the docket sheet in eom;!ianes
with Ru|e §§ ar=i’l/or 32(b) FF{CrP on 2 225 1 l..)

     

UNITED `sATES DISTRICT COURT - WESTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 209 in
case 2:04-CR-20140 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

